    e   44 civil
                      ,
                                 Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 1 of 15
                                 0ITTl
                   coV'!l'r"Sheetanttthe<'~formation
                                                                           CIVILCOVERSHEET                                                                     'rtJ?._ ~~
                                                  contained herein neither replace nor supplement the filing and service of pleadings or ot!r pap:s\s'lequired by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is reqmred for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXI PAGE OF THIS FORM)


                                                                                                            Jr?~fr~~'llJWe~~sylvania, Robert Clifford and John Does

     (b)

                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

   ( C) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
 Schafkopf Law LLC 11 Bala Ave, Bala Cynwyd PA 19004 610-664-5200
 Weisberg Law, 7 S. Morton Ave, Morton PA 19070 610-690-0801


                                                      ce an "X" in One Box Only)

0 I     U.S. Government
           Plaintiff                                                                                Citizen of This State                                 Incorporated or Principal Place
                                                                                                                                                            of Business In This State

0 2     U.S. Government                0 4    Diversity                                             Citizen of Another State                              Incorporated and Principal Place      a   5     a   5
           Defendant                            (Indicate Citizenship ofParties in Item Ill}                                                                 of Business In Another State

                                                                                                                                       0 3       0    3   Foreign Nation                        a   6     a   6

IV. NATURE 0 F SUIT (Place an ''.X" in One Box Only)                                                                                              Click here for: Nature of Suit Code Descri tions.
~·                   ·~                                                                                                                                                 1IBJ.                       . ..,,·:;
0    110 Insurance                       PERSONAL INJURY               PERSONAL INJURY              0 625 Drug Related Seizure              0 422 Appeal 28 USC 158            0 375 False Claims Act
0    120 Marine                       0 310 Airplane                 0 365 Personal Injury -              of Property 21 USC 881            0 423 Withdrawal                   0 376 Qui Tam (31 USC
0    130 Miller Act                   0 315 Airplane Product               Product Liability        0 690 Other                                   28 USC 157                         3729(a))
0    140 Negotiable Instrument                Liability              0 367 Health Care/                                                                                        0 400 State Reapportionment
0    150 Recovery of Overpayment 0 320 Assault, Libel &                    Pharmaceutical                                                                                      0 410 Antitrust
         & Enforcement of Judgment            Slander                      Personal Injury                                                  0 820 Copyrights                   0 430 Banks and Banking
0    151 Medicare Act                 0 330 Federal Employers'             Product Liability                                                0 830 Patent                       0 450 Commerce
0    152 Recovery of Defaulted                Liability              0 368 Asbestos Personal                                                0 835 Patent - Abbreviated         0 460 Deportation
         Student Loans                0 340 Marine                         Injury Product                                                         New Drug Application         0 470 Racketeer Influenced and
         (Excludes Veterans)          0 345 Marine Product                 Liability                                                        0 840 Trademark                          Corrupt Organizations
0    153 Recovery of Overpayment
         of Veteran's Benefits
                                              Liability
                                      0 350 Motor Vehicle           0 PERSONAL     PROPERTY
                                                                       370 Other Fraud             --~~---~~···--·-··~·~•·ijiiil§ll~
                                                                                                   0 710 Fair Labor Standards 0 861 HIA (1395ft) 0
                                                                                                                                                 0                               480 Cable/Sat
                                                                                                                                                                                 490 ConsumerTV  Credit
0    160 Stockholders' Suits          0 355 Motor Vehicle           0 371 Truth in Lending                 Act                              0 862 Black Lung (923)             0 850 Securities/Commodities/
0    190 Other Contract                      Product Liability      0 380 Other Personal            0 720 Labor/Management                  0 863 DIWC/DIWW (405(g))                  Exchange
0    195 Contract Product Liability S:t.a~ll!J!~er Personal                Property Damage                Relations                         0 864 SSID Title XVI               0 890 Other Statutory Actions
0    196 Franchise                                                  0 385 Property Damage           0 740 Railway Labor Act                 0 865 RSI (405(g))                 0 891 Agricultural Acts
                                                                          Product Liability         0 751 Family and Medical                                                   0 893 Environmental Matters
                                                                                                          Leave Act                                                            0 895 Freedom oflnformation
ElillE~i.llJ.!l!~~····l!J·lidfllilillll~1 ~-li·~;niill!i'l,§.fl.o                                     790 Other Labor Litigation            lllilllimlJilBlllilllf                    Act
0 210 Land Condemnation                                             Habeas Corpus:                  0 791 Employee Retirement               0 870 Taxes (U.S. Plaintiff        0 896 Arbitration
0 220 Foreclosure                                                 0 463 Alien Detainee                    Income Security Act                     or Defendant)                0 899 Administrative Procedure
0 230 Rent Lease & Ejectment                                      0 510 Motions to Vacate                                                   0 871 IRS-Third Party                    Act/Review or Appeal of
0 240 Torts to Land                                                     Sentence                                                                  26 USC 7609                        Agency Decision
0 245 Tort Product Liability                                      0 530 General                                                                                                0 950 Constitutionality of
0 290 All Other Real Property        0 445 Amer. w/Disabilities - 0 535 Death Penalty                             ~BJ,\'illt-                                                        State Statutes
                                           Employment               Other:                          0 462 Naturalization Application
                                     0 446 Amer. w/Disabilities - 0 540 Mandamus & Other            0 465 Other Immigration
                                           Other                  0 550 Civil Rights                      Actions
                                     0 448 Education              0 555 Prison Condition
                                                                  0 560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement
            GIN (Place an    ''}{" 1n One Box Only)
                          0 2 Removed from                0    3   Remanded from               0 4 Reinstated or       0 5 Transferred from               0 6 Multidistrict             0 8 Multidistrict
                                State Court                        Appellate Court                  Reopened                    Another District                Litigation -                 Litigation -
                                                                                                                                (specify)                       Transfer                     Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         Title VIII Civil Ri hts· Section 1983
                                         Brief description of cause:
                                          Plaintiff was wron full terminated due to his race.
VII. REQUESTED IN     0                       CHECK IF THIS IS A CLASS ACTION                         DEMAND$                                                                          ed in complaint:
     COMPLAINT:                               UNDER RULE 23, F.RCv.P.                                                                                                                   es     ONo
VIII. RELATED CASE(S)
                                             (See Instructions):
      IF ANY                                                                                                                                  DOCKET NUMBER
DATE
12/11/2017
FOR OFFICE USE ONLY

    RECEIPT#                    AMOUNT                                     APPL YING IFP                                    JUDGE                               MAG.JUDGE


                                                                                                               DEC 11 2017
                            Case 2:17-cv-05542-MMB   Document  1 FiledCOURT
                                                                       12/11/17 Page 2 of 15
                      I'.                J
                                              UNITED STATES DISTRICT
 FOR THE EASTERN DISTRICT OF PENNSYLVANIA - DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
                                                                                                                                            If                   5542
 assignment to appropriate calendar.

 Address of Plaintiff:      8421 Bayard St Philadelphia PA 19150
 Address ofDefendant:       2929 Walnut Street Suite 400 Philadelphia PA 19104
 Place of Accident, Incident or Transaction:       Universit of Pennsylvania
                                                  -----"---------"'-----------------------+-+-t----------~
                                                                             (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owni g I 0% or           ore of its stock?
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))                                      YesD      N~

Does this case involve multidistrict litigation possibilities?                                                                     YesD       No~
RELATED CASE, IF ANY:
Case Number: _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date Terminated:------..-.....,.------------

Civil cases are deemed related when yes is answered to any of the following questions:

 1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this c urt?
                                                                                                                                YesD      N~
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previou ly termina ed
   action in this court?
                                                                                                                                YesD
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one ear previous!
      terminated action in this court?                                                                                             YesD       No)i(


4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                   YesD

CIVIL: (Place    t/ in ONE CATEGORY ONLY)
A Federal Question Cases:                                                                                  B. Diversity Jurisdiction Cases:
 1.    D   Indemnity Contract, Marine Contract, and All Other Contracts                                    1.   0   Insurance Contract and Other Contracts
 2.    D   FELA                                                                                            2.   D   Airplane Personal Injury
 3.    D   Jones Act-Personal Injury                                                                       3.   D   Assault, Defamation
 4. o Antitrust                                                                                            4.   D   Marine Personal Injury
                                                                                                           5.   D   Motor Vehicle Personal Injury
                                                                                                           6.   D   Other Personal Injury (Please specify)
               ·1 Rights                                                                                   7.   D   Products Liability
                eas Corpus                                                                                 8.   D   Products Liability -      Asbestos
                                                                                                           9.   D   All other Diversity Cases
10.    D   Social Security Review Cases                                                                             (Please specify)
11.    D   All other Federal Question Cases
           (Please s p e c i f y ) - - - - - - - - - - - - - - - - - - -

                                                                     ARBITRATION CERTIFICATION
                                                  (Check Appropriate Category)
!,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~counsel of record do hereby certify:
   o Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
  o Relief other than monetary damages is sought.

DATE: _ _ _ _ _ _ _ _ __
                                                              Attorney-at-Law                                                          Attorney I.D.#
                                             NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE:       12-11-17                                                                                                                   83362
                                                                                                                                       Attorney I.D.#
CIV. 609 (5/2012)
                           Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 3 of 15

                                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
,...., .. :'"'Irr·-:.:.\
                       i
                                    CASE MANAGEMENT TRACK DESIGNATION FORM
                                 Frank Kenneth Richardson Jr                         CIVIL ACTION

                                       v.
                                 University of Pennsylvania et al
                                                                                     NO.

       In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
       plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
       filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
       side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
       designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
       the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
       to which that defendant believes the case should be assigned.

       SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

       (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

       (b) Social Security - Cases requesting review of a decision of the Secretary of Health
           and Human Services denying plaintiff Social Security Benefits.                                  ( )
       (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53 .2.     ( )

       (d) Asbestos - Cases involving claims for personal injury or property damage from
           exposure to asbestos.                                                                           ( )

       (e) Special Management- Cases that do not fall into tracks (a) through (d) that are
           commonly referred to as complex and that need special or intense management by
           the court. (See reverse side of this form for a detailed explanation of special
           management cases.)

       (f) Standard Management- Cases that do not fall into any one of the other tracks.


           12-11-17                              Gary Schafkopf, Esq          Plaintiff
      Date                                         Attorney-at-law             Attorney for
          610-664-5200                           888-283-1334                gary@schaflaw.com

      Telephone                                     FAX Number                 E-Mail Address


      (Civ. 660) 10/02
~cP          ~-
          Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 4 of 15



~RGLAW
 Matthew B. Weisberg, Attorney ID No. 85570
                                                       SchaJkopf Law, LLC
                                                       Gary Schafkopf, Attorney ID No. 83362
                                                                                               0)
 7 South Morton Ave.                                   11 Bala Ave
 Morton, PA                                            Bala Cynwyd, PA 19004
 610-690-0801                                          610-664-5200 Ext 104
 Fax: 610-690-0880                                     Fax: 888-238-1334
 Attorney for Plaintiff                                Attorney for Plaintiff

                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA


  FRANK KENNETH RICHARDSON JR
  8241 Bayard St
  Philadelphia PA 19150                                  No.

                         Plaintiff,                      JURY TRIAL OF TWELVE (12)
                   v.                                    DEMANDED

  UNIVERSITY OF PENNSYLVANIA
  2929 Walnut Street
  Suite 400
  Philadelphia, PA 19104
                                                                                      FILED
                                                                                     DEC 11 2017
  and
                                                                                    KAT~ARKMAN, Cler.k
                                                                                  By_ t:r.    Dep. Clerk
  ROBERT CLIFFORD
  2929 Walnut Street
  Suite 400
  19104

  JOHN DOES 1-100
                        Defendants

                                 CIVIL ACTION COMPLAINT

    1. Plaintiff, Frank Kenneth Richardson Jr., is an African-American adult individual residing

        at the above captioned address. Plaintiff is a citizen of Pennsylvania.

    2. Defendant, University of Pennsylvania, is a for profit university, doing business at the

        above captioned address.

    3. Defendant, Robert Clifford, is a Caucasian male and was Plaintiffs Senior Manager,

        doing business at the above captioned address.




                                                                                                       5
     Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 5 of 15



4. Defendants, John Does 1-10, is a moniker/fictitious name for individuals and entities

    currently unknown but will be substituted when known, as affiliated, associated or liable

    hereunder for the reasons set forth below or inferred therefrom. Each of these parties are

    incorporated as Defendants in each and every count and averment listed above and below.

                               JURISDICTION AND VENUE

5. This Court has jurisdiction and venue is appropriate in this judicial district as the facts

    complained of herein occurred in this judicial district, and this Complaint arises under the

    laws of the United States and seeks redress for violations of federal laws.

6. All conditions precedent- including the EEOC Right to Sue Letter- have been satisfied.

    EXHIBIT A

                                      OPERATIVE FACTS

7. Since February 2014 until his termination Plaintiff was a Manager with Defendant's

   University Laboratory for Animal Resources ("ULAR").

8. ULAR provides veterinary care, animal husbandry and regulatory support for the

   academic schools with Defendant University of Pennsylvania that conduct biomedical

   research.

9. Plaintiff's responsibilities included managing daily operations of the animal facility from

   a husbandry and regulatory perspective, as well overseeing the activities of the animal

   care staff, including hiring new employees, disciplining existing employees and

   completing performance evaluations.

10. On or about April 9, 2015 two employees began a verbal argument during a staff

   meeting.
      Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 6 of 15


11. Plaintiff, intervened and took both employees into his office and began employing

    conflict resolution methods to defuse the situation, addressing each employee

    individually.

12. Plaintiff did not believe the incident needed to be reported to Human Resources as he was

    able to defuse the situation.

13. Upon conclusion of Plaintiffs meeting with the two employees one of the employees did

    requested to speak to Human Resources.

14. At the time of the request Human Resource Generalist, Janese Brown-Hooker called

    Plaintiff regarding an unrelated matter.

15. Human Resource Generalist Janese Brown-Hooker, who is African-American, spoke

    with the employee over the phone in Plaintiffs office.

16. Plaintiff was not present during the conversation and Ms. Brown-Hooker did request to

    speak with Plaintiff afterwards.

17. Plaintiff was not told that any additional action was needed and believed the incident had

   been handled in an appropriate matter.

18. During an unrelated meeting with a Human Resource consultant Plaintiff discussed the

   incident regarding the two employees.

19. Following the meeting with the Human Resource consultant Plaintiffs Senior Manager,

   Defendant Rob Clifford who is Caucasian was advised of the incident between the two

   employees.

20. The following week Defendant Rob Clifford met with Plaintiff.

21. Despite having never been previously disciplined Plaintiff was given a First and Final

   Warning regarding his handling of the situation between the two employees.
     Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 7 of 15



22. Defendant Rob Clifford failed to investigate the matter prior to issuing the First and Final

    Waring.

23. Plaintiff believes and avers that Plaintiffs First and Final Warning resulted not due to his

    handling of the situation between the two employees but due to his race.

24. In March of2015 Plaintiff hired a temporary employee, Abdulallah Hunter.

25. Over the course of several months Mr. Hunter called out of work, arrived late or would

    request to leave early.

26. In June 2015 Plaintiff and Supervisor Ladia Little, who is African-American, met with

    Mr. Hunter.

27. Plaintiff informed Mr. Hunter that his attendance issues were problematic and that any

    further issues regarding his attendance would lead to him being disciplined which

    included potential termination

28. In August 2015 Mr. Hunter was involved in a car accident.

29. Mr. Hunter returned to work a week later the following week Plaintiff was advised by

   Mr. Hunter that his doctor advised him to not to return to work.

30. Mr. Hunter did return to work but continued to experience attendance problems.

31. Plaintiff then determined to end Mr. Hunter's temporary employment.

32. Plaintiff sent an email to Ufuoma Pela, who is African-American, and Rob Clifford

   informing them of his decision.

33. Defendant Rob Clifford did not respond, and Mr. Pela responded "ok."

34. Neither provided Plaintiff with any additional instructions on how to handle Mr. Hunter's

   termination.
      Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 8 of 15



35. Or about August 25, 2015 Plaintiff with Supervisor Ladia Little met with and terminated

    Mr. Hunter's employment.

36. Plaintiff did not provide Mr. Hunter with a specific reason for his termination, which was

    not required as a temporary employee.

37. Following the meeting Mr. Hunter approached Plaintiff at the elevator bank.

38. Mr. Hunter requested to know the reason for his termination.

39. Plaintiff advised it was due to his attendance and immediately left.

40. The following day Mr. Hunter requested Plaintiff provide him a letter stating the reason

    for his termination was due to his attendance.

41. Plaintiff immediately informed Ufuoma Pela of the request and advised that he had

    informed Mr. Hunter that his termination was due to his attendance during the brief

    conversation at the elevator.

42. An investigation was then conducted by Defendant Rob Clifford regarding Mr. Hunter's

    firing and how the situation was handled.

43. Plaintiff and Ladia Little were interviewed advising of all the events that occurred during

    and after the meeting with Mr. Hunter.

44. On or about September 1, 2015, terminated.

45. Following his termination Plaintiff filed a grievance with Defendant University of

    Pennsylvania.

46. The grievance panel found in Plaintiff's favor finding Plaintiff's termination was

   erroneous. EXHIBIT B

4 7. Plaintiff believes and avers that his termination was the result of his race and not due to

   his handling of Mr. Hunter's termination.
      Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 9 of 15


48. Plaintiff believes and avers that other Caucasian managers who have been investigated

    for assisting employees to steal company time by failing to report when employees clock

    in and out of the office have not been disciplined by Defendants.

49. Per Defendant University of Pennsylvania's employment policy falsifying timesheets are

    grounds for immediate dismissal.

50. Plaintiff believes and avers Caucasian managers who have engaged in falsifying time

    sheets have not been terminated and Plaintiff was terminated as a result of his race.

51. As a result of the discrimination, Plaintiff suffered emotional distress. Plaintiff has

    remained in distress since discrimination against his ethnicity.

                                      COUNT I
        42.S.C. § 2000e et seq. - TITLE VII OF THE 1964 CIVIL RIGHTS ACT

52. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

    herein.

53. Defendants have discriminated against Plaintiff by terminating him due to his handling of

    a conflict amongst two employees and the termination of a temporary employee.

54. Similarly situated Caucasian Managers have not been disciplined for failing to report and

    correct a situation in which employees were stealing company time by failing to clock in

    and out of the office.

55. Plaintiff suffered harm due to Defendants' conduct.

                                     COUNT II
        43P.S. § 951, et seq. - PENNSYLVANIA HUMAN RELATIONS ACT

56. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

   herein.

57. Defendants' discriminatory actions aforesaid also violate the PHRA.
     Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 10 of 15



58. Plaintiff suffered harm due to Defendants' conduct.

                                  COUNT III - 1983 VIOLATION

59. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

    herein.

60. Defendants' retaliatory conduct, as set forth herein, deprived Plaintiff of equal protection

    under the law as guaranteed by the Fourteenth Amendment of the United States

    Constitution.

61. As a direct and proximate result of Defendants' acts and conduct which caused and

    continue to cause Plaintiff to be denied equal protection under the law, Plaintiff has

    suffered and will suffer those injuries, damages, and losses alleged herein and has

    incurred and will incur attorneys' fees and costs.

62. The wrongful acts and conduct of Defendants' were done with deliberate indifference to

    the statutory and constitutional rights of Plaintiff.

                                    COUNT IV
                              WRONGFUL TERMINATION

63. Plaintiff incorporates the foregoing paragraphs as if fully set forth at length herein.

64. Plaintiff, Frank Richardson Jr was employed by Defendants.

65. Plaintiff was laid off for discriminatory and/or retaliatory reasons after firing a temporary

    employee.

66. Plaintiff filed a grievance with Defendant University of Pennsylvania.

67. The grievance panel ruled in Plaintiffs favor, finding that Plaintiff had erroneously been

   fired.

68. As a result of Defendants' actions, Plaintiff has sustained damages, as set forth above.
        Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 11 of 15


WHEREFORE, Plaintiff respectfully requests this Honorable Court enter judgment in his favor

and against Defendants, individually, jointly and/or severally, in an amount in excess of $75,000,

plus such other and further relief as this Honorable Court deems necessary and just, and to Order

the following relief:

                              a. Statutory damages;

                             b. Punitive damages;

                             c. Compensatory damages, including;

                                    1.   Actual damages for financial and physical injuries, and

                                         emotional distress;

                             d. Attorneys' fees and expenses, costs of suit, and equitable relief;




Respectfully Submitted,


WEISBERG LAW                                        SCHAFKOPF LAW, LLC


BY: Isl Matthew Weisberg
MATTHEW B. WEISBERG, ESQ                                          FKOPF,ESQf

DATED:    /l.-f/-/7                                 DATED: }2--//-/7
Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 12 of 15




   EXHIBIT A
                    Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 13 of 15


 EEOC Form 161 (11116)                     U.S. EQUAl ... w'IPLOYMENT OPPORTUNITY COMMISSIO~

                                                   DISMISSAL AND NOTICE OF RIGHTS
 To:    Frank Richardson                                                                From:     Philadelphia District Office
        8241 Bayard St                                                                            801 Market Street
        Philadelphia, PA 19150                                                                    Suite 1300
                                                                                                  Philadelphia, PA 19107


       D                     On behalf of {Jf!rson(s) aggrieved whose identity is
                             CONFIDENTIAL (29 CFR §1801.l(a)J
 EEOC Charge No.                                 EEOC Representative                                                    Telephone No.
                                                 Legal Unit,
 530-2016-00640                                  Legal Technician                                                       (215) 440-2828
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       D         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

       D         Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

       D         The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

       D         Your charge was not timely filed with EEOC; in other words. you wailed too long after the date(s) of the alleged
                 discrimination to file your charge
       (!]       The EEOC issues the following determination: Based upon its investigation, the . EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is In compliance with
                 the statutes. No finding is made as to any other issues that might be construed a~ having been taised by this charge.
       D         The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

       D         Other (brieRy state}



                                                          - NOTICE OF SUIT RIGHTS -
                                                    (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the G.enetic Information NQndiscrimination Act. or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a laytsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost (The time limit for filing suitpased on a claim under state law may be different.)

Equal Pay Act {EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for aoy viotaiions that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                      On behalf of the Commission

                                                                         V-_j       6
Enclosures(s)                                                                                                                (Date MeiledJ
                                                                    Kevin J. Berry,
                                                                Acting District Director
ec:

           UNIVERSITY OF PENNSYLVANIA
           Jennifer      a. Feldman, l:s.q. (For ResponcJent)
Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 14 of 15




    EXHIBITB
     Case 2:17-cv-05542-MMB Document 1 Filed 12/11/17 Page 15 of 15




                                        UNIVERSITY OF PENNSYLVANIA

                                        STAFF GRIEVANCE PROCEDURE
                                        Panel Findin~s & Recnmmendations


        Gricvant Jnfomiation:

       Name___..,~      , _ fr.ink Richigdson, Jr.

        DepartmentiSchool       ULAR_         -·-~--· ______Title_ _.l'v._.l=a1=1a=g,__e~r--------

       Preferred Mailing Address-~41 Ba}'.ard ,Sr.~ Pbihtdclnhia, PA 19150

       Home Telephone_ __,.2:.: 6_,_7_.-2:.: 5;:;:2c..:-5::. : 5:.:1_,4______ tlniversity Extension~-.-.,-~~. . .~-,~


       Panel Hearing:
       Date of Hearing October 12, 2015.___________

       Jssue{s) (use additional pages if necessary]:

       Wllether f'rank Richar;dson's Seple1t1ber l, 2015 temlinetion frum his position as IJlanagcr nt ULAR was
       appropriate and in keeping with the Univer5ity's pQJfoy.and ptoct.-dures .
.·

       Termination of employment was basecl on erroneous infonnation and undocumented assertions that he
       .IUisrcprcscnl.cd the tacts concerning !he reasons given lo tcnninatean agency employee.


      Position of Rc~-pondent:

      Grievant failed to. provide.accurate and honest infonnation to University stalt regarding the termination of
      an agency employee.

      Finding of Fact:

       The grievant may not lmve strictly followed Unive,rsity policies concerning the termination ofan agency
     . employee, by giving two distinct reasons for tl1e temun.ation. However. bis actions should not be deemed
       as misconduct that warratt1S dismissal and lhe grievant's tcstiltlooy that be.Provided his supervisors with
       both reasons for the termination of the agency employee appeared credible and honest- He gave a formal
       and .informal rea5on for the termination and the respondent (lid not offer any witness to contra!iict the
       grievant's versionoflhe facts.
